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                                CERTIFICATE OF SERVICE

       I, Donald E. Haviland, Jr., hereby certify that on March 17, 2011 true and correct copies

of the foregoing Notice to Attend was served on all counsel of record via CM/ECF notification.

       In addition, the following individuals were served via first class mail:

Wells G. Wilkinson
Director, Prescription Access Litigation
30 Winter Street
Boston, MA 02108

Eric Miller
Rust Consulting, Inc.
625 Marquette Avenue
Suite 880
Minneapolis, MN 55402

Agnes Swayze
1016 W. Newgrove Street
Lancaster, CA 93534

Zenola Harper
60 E. 42nd Street
New York, NY 10165

                                                     _/s/__________________
                                                     Donald E. Haviland, Jr., Esq.
